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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MATTHEW BEWLEY and RYAN BEWLEY,                      )
                                                     )
                       Plaintiffs                    )
                                                     )
               vs.                                   )   Case No.: 1:23-CV-15570
                                                     )
THE NATIONAL COLLEGIATE ATHLETIC                     )
ASSOCIATION                                          )
                                                     )
                       Defendant.                    )

              PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Local Rule 26.2, Plaintiffs, Matthew Bewley and Ryan Bewley (hereinafter

“Plaintiffs”), by their attorneys, Dominique Price, Daniel McGrath, and Marcos Reilly of

Hinshaw & Culbertson LLP, hereby move for leave to file under seal Exhibits C and D to their

Complaint, and in support thereof, states as follows:

       1.      To their Complaint, Plaintiffs attach Exhibits C and D. Exhibit C is a copy of the

Uniform Player Contract between Plaintiff, Matthew Bewley and Overtime Elite Academy.

Exhibit D is an exemplar Scholarship and Name, Image, and Likeness Agreement with OTE.

       2.      In order to maintain the confidentiality of the proprietary terms of these

agreements, Plaintiffs seek leave of court to file these two exhibits under seal. If given leave to

do so, Plaintiffs will promptly file Exhibits C and D under seal with this Court.

       WHEREFORE, Plaintiffs respectfully request leave of Court to file Exhibit C and Exhibit

D under seal in support of their Complaint, and for such further and other relief as the Court

deems just and equitable.


                                              Respectfully Submitted,

                                              MATTHEW BEWLEY and RYAN BEWLEY


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                                             By:      /s/Dominique Price
                                                    One of their Attorneys
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Marcos Reilly
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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 1, 2023, I electronically filed the forgoing
PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL with the Clerk of the U.S.
District Court, using the CM/ECF system reflecting service to be served upon all parties of record.

                                                    /s/ Dominique Price
                                                    Dominique Price
                                                    One of the Attorneys for Plaintiffs




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